The case on the question of negligence was for the jury. That the train ran beyond the usual stopping place before coming to a stand-still, was not negligence. This may happen from the condition of the track or other cause, without the fault of the managers of the train; and, of itself, it does not expose a passenger to danger. Nor was the delay, after the train was brought to a stop, for a period necessary to reverse the motion, so as to back it to the usual stopping place, per se
negligence, which would make the defendant responsible for the injury to the plaintiff. But the fact that the train overshot the station, rendering it necessary, after it came to a stand-still, to start it back to the usual stopping place, in connection with the other circumstances, made it a question for the jury, whether, in the exercise of reasonable care and prudence, the defendant should not have given notice to passengers desiring to alight at the station, that the train had not come to a final stop, and that it would back up. Take the case of the plaintiff. She had a ticket for "Willards." She was not familiar with the stopping place, but she knew that it was the next station north of Chenango Forks, and about three-quarters of a mile therefrom. She knew when the train passed that station, and was justified in supposing that the next stopping place would be "Willards." The train, after the proper interval to enable it to run the short distance from the "Forks," stopped. The night was dark. There was no depot at Willards, or station light, or anything to indicate to a person not familiar with the objects there, that the train had overshot the stopping place, or that it would be necessary for it to go back. The evidence on the *Page 493 
part of the plaintiff tended to show that after the train came to a full stop she rose from her seat, a little back of the centre of the car, having a bundle in one hand, and walked to the rear door, passed out, closed it, and, taking hold of the rail with one hand, stepped down the first step, and was just stepping to the second one, when the train, with a violent jerk, started back, and she was thrown down and seriously injured. The brakeman announced the station before reaching it, and several persons rose and prepared to leave the car before the plaintiff left. It must be assumed, upon the finding of the jury, that no notice was given by the conductor, brakeman or other person, that the train had not come to a full stop, and no warning that it was to back, or that passengers should not leave the car.
The plaintiff was justified, under the circumstances, in supposing that she had reached her destination, and that the train was at the place where passengers were to alight; at least the jury might well have come to the conclusion that she was free from negligence. The defendant was bound to take notice of the circumstances, viz., that the station had been announced; that passengers for Willards would naturally assume that the train, when it stopped, was at the station, and at the place where they were to alight; that by reason of the darkness of the night, and the absence of a depot or other external indication of a station, passengers, especially those not familiar with the surrounding objects, would not, by observation, know that the trains had run beyond the highway crossing; that passengers, in the absence of notice, would, according to the usual custom, start to leave the train as soon as it came to a stand-still. In view of these circumstances, it was a question for the jury whether the defendant's servants should not, as a reasonable precaution, have given notice to passengers that the train was to back, and whether the omission to do so was not negligence. (Weller v.The London, B., etc., Railway Co., 9 Law Rep. [C.P.], 126.) The plaintiff did not hear the announcement of the station, but the defendant's servants knew that it had *Page 494 
been announced, and other passengers heard it and arose to leave, and this was an indication to her, in addition to her general knowledge of the distances and locality, that the train had reached "Willards."
The time that the train stood still before backing up was the subject of controversy on the trial. It was long enough, at least to enable the plaintiff, according to her testimony and that of other witnesses, to leave her seat and go out of the door on to the platform and step down one or more of the steps. The witness Reynolds, in reply to an inquiry, how long the car was still, replied: "Not more than a minute or two," and witnesses for the defendant made the time much shorter. But the court left it to the jury to say whether the delay, in connection with the omission to give notice to passengers and the other circumstances, was negligence, and the jury having found for the plaintiff, the court cannot disturb the verdict.
The court charged the jury that "the company (defendant) does not contract to insure the safety of its passengers, but contracts to use the utmost diligence and care in protecting them from injury." The first clause in the charge limits the last one, and the court must have been understood simply as charging that the carrier was bound to use great care and diligence in protecting passengers from injury. He certainly did not intend to charge that they were insurers. (Bowen v. R.R. Co.,18 N.Y., 408.)
We think the judgment should be affirmed.
All concur, except ALLEN, J., absent.
Judgment affirmed. *Page 495 